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                                                     INVOICE
                                                                             INVOICE DATE        INVOICE NUMBER
                                                                                2/5/2016             19578
                                                                             PERIOD START        THROUGH DATE
                                                                             Project Inception      1/31/2016
Michael J. Juneau, Esq.
Claims Administrator of the Halliburton/Transocean Settlements
c/o Juneau David, APLC
1018 Harding Street, Suite 202
Lafayette, LA 70503



Project Name:          HESI Punitive Damages & Assigned Claims Settlements

                              Description                                   Quantity                 Amount
Fees

Project Management                                                          243.1 Hrs.             $37,069.50
 A core group of people manages all aspects of the settlement
 administration in accordance with the Claims Administrator’s
 directions and with his oversight. This group handles high-level
 communications with the Claims Administrator and his staff,
 consultants or vendors, and with representatives of the parties in
 coordination with the Claims Administrator. The Project Management
 team also oversees reporting and drafting internal protocols or other
 necessary documents for the Claims Administrator’s review. Through
 January, particular attention was directed to analysis of settlement
 documentation, DHEPDS data review in connection with distribution
 model work, responding to requests for information from the notice
 consultant, and review of submissions.

Systems Support                                                               1 Hr.                         $110.00

 The Systems Team provides all technology and IT support for the case,
 and supports the operational requirements and processes required for
 settlement administration.

   Reporting/Data Analysis                                                  211.9 Hrs.              $27,549.50
       The Reporting/Data Analysis Team provides data support to GCG’s
       production and management teams, in order to provide regular
       monitoring of GCG’s tasks and also to fulfill information requests
       for reporting and analysis. Through January, particular attention
       was directed to responding to detailed requests for DHEPDS Claims
       data from the Project Management team.



Total Fees                                                                                         $64,619.00

Grand Total                                                                                        $64,619.00
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 Project Name: HESI Punitive Damages & Assigned Claims Settlements

Please Remit To :


Garden City Group, LLC                                        Garden City Group, LLC
1985 Marcus Avenue, Suite 200                -Or-             Operating A/C
Lake Success, NY 11042                                        Signature Bank
                                                              1225 Franklin Avenue
                                                              Garden City, NY 11530

                                                              ABA # - 026013576
                                                              A /C # - 1501168781
                                                              Tax ID # - XX-XXXXXXX
                                                              Swift Code - SIGNUS33
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Summary Billing By Employee - HESI Punitive Damages & Assigned Claims
Settlements
Name                              Title                                                Rate      Hours        Amount
Project Management
Alaniz, Elizabeth A.              Director, Operations                                 $175.00   69.4         $12,145.00
Cirami, Stephen                   Executive Vice President & Chief Operating Officer   $225.00   22.4         $5,040.00
Citowicki, Matt                   Web and Graphics Designer                            $125.00   0.7          $87.50
Clouse, Richard                   Telecommunications Administrator                     $100.00   0.5          $50.00
Cook, Roxana                      Sr. Project Supervisor                               $110.00   4.7          $517.00
Dalke, Jackie                     Web and Graphics Designer                            $125.00   0.1          $12.50
Donaldson, Mark                   Telecommunications Administrator                     $100.00   0.2          $20.00
Espaillat, Joseph                 Sr. Project Supervisor                               $110.00   4.6          $506.00
Greene, Danielle                  Operations Coordinator                               $125.00   2.0          $250.00
La Count, Michelle                Project Manager I                                    $125.00   107.6        $13,450.00
Mulvihill, Matthew                Sr. Project Supervisor                               $110.00   9.2          $1,012.00
Muthya, Hemalatha                 Web and Graphics Designer                            $125.00   0.2          $25.00
Oates, Kristin                    Director, Operations                                 $175.00   16.8         $2,940.00
Paraiso, Leonor                   Project Supervisor                                   $95.00    0.1          $9.50
Stainback, Daniel                 Web and Graphics Manager                             $125.00   0.3          $37.50
Zola, Neil                        President                                            $225.00   4.3          $967.50

Total Project Management :                                                                       243.1        $37,069.50



Reporting/Data Analysis
Hansen, Christopher               Sr. Systems Project Manager                          $200.00   20.6         $4,120.00
Kong, Minmhiep                    Data Analyst IV                                      $125.00   23.5         $2,937.50
Mariconda, Philip                 Data Analyst II                                      $100.00   7.8          $780.00
Nichols, Jacob                    Data Analyst IV                                      $125.00   136.3        $17,037.50
Sayle, Trevor                     Data Analyst IV                                      $125.00   4.5          $562.50
Zaremba-Tymieniecki, Michal       Data Analyst III                                     $110.00   19.2         $2,112.00

Total Reporting/Data Analysis :                                                                  211.9        $27,549.50




Detailed Billing By Employee - HESI Punitive Damages & Assigned Claims
Name                              Title                                                Rate      Date         Hours        Amount
Project Management
Zola, Neil                        Senior Management capped @ $225                      $225.00   11/11/2015   0.80         $180.00
Cirami, Stephen                   Senior Management capped @ $225                      $225.00   11/12/2015   1.50         $337.50
Zola, Neil                        Senior Management capped @ $225                      $225.00   11/12/2015   1.20         $270.00
Cirami, Stephen                   Senior Management capped @ $225                      $225.00   11/13/2015   0.50         $112.50
Cirami, Stephen                   Senior Management capped @ $225                      $225.00   11/16/2015   1.50         $337.50
Clouse, Richard                   Programmer (@ $100)                                  $100.00   11/16/2015   0.50         $50.00
La Count, Michelle                Project Manager I                                    $125.00   11/16/2015   4.90         $612.50
Cirami, Stephen                   Senior Management capped @ $225                      $225.00   11/17/2015   1.80         $405.00
La Count, Michelle                Project Manager I                                    $125.00   11/17/2015   0.50         $62.50
Zola, Neil                        Senior Management capped @ $225                      $225.00   11/17/2015   1.00         $225.00
Cirami, Stephen                   Senior Management capped @ $225                      $225.00   11/18/2015   1.10         $247.50
La Count, Michelle                Project Manager I                                    $125.00   11/18/2015   4.40         $550.00
La Count, Michelle                Project Manager I                                    $125.00   11/19/2015   1.10         $137.50
Cirami, Stephen                   Senior Management capped @ $225                      $225.00   11/20/2015   0.50         $112.50
Cirami, Stephen                   Senior Management capped @ $225                      $225.00   11/23/2015   1.00         $225.00
Cirami, Stephen                   Senior Management capped @ $225                      $225.00   11/24/2015   0.50         $112.50
La Count, Michelle                Project Manager I                                    $125.00   11/24/2015   4.10         $512.50
Cirami, Stephen                   Senior Management capped @ $225                      $225.00   11/25/2015   0.50         $112.50
La Count, Michelle                Project Manager I                                    $125.00   11/30/2015   2.10         $262.50
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Project Management
La Count, Michelle              Project Manager I                   $125.00   12/01/2015   2.50   $312.50
Oates, Kristin                  Director, Operations (@ $175)       $175.00   12/01/2015   1.00   $175.00
Cirami, Stephen                 Senior Management capped @ $225     $225.00   12/02/2015   0.50   $112.50
La Count, Michelle              Project Manager I                   $125.00   12/02/2015   0.20   $25.00
Zola, Neil                      Senior Management capped @ $225     $225.00   12/02/2015   1.30   $292.50
Cirami, Stephen                 Senior Management capped @ $225     $225.00   12/03/2015   0.50   $112.50
La Count, Michelle              Project Manager I                   $125.00   12/04/2015   1.60   $200.00
Oates, Kristin                  Director, Operations (@ $175)       $175.00   12/07/2015   0.50   $87.50
La Count, Michelle              Project Manager I                   $125.00   12/08/2015   0.10   $12.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/09/2015   1.00   $175.00
Oates, Kristin                  Director, Operations (@ $175)       $175.00   12/09/2015   1.80   $315.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/10/2015   1.00   $175.00
La Count, Michelle              Project Manager I                   $125.00   12/10/2015   3.90   $487.50
Oates, Kristin                  Director, Operations (@ $175)       $175.00   12/10/2015   1.00   $175.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/11/2015   0.80   $140.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/13/2015   1.50   $262.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/14/2015   3.30   $577.50
Cirami, Stephen                 Senior Management capped @ $225     $225.00   12/14/2015   1.50   $337.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/15/2015   1.70   $297.50
Cirami, Stephen                 Senior Management capped @ $225     $225.00   12/15/2015   0.50   $112.50
La Count, Michelle              Project Manager I                   $125.00   12/15/2015   1.50   $187.50
Oates, Kristin                  Director, Operations (@ $175)       $175.00   12/15/2015   1.00   $175.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/16/2015   0.80   $140.00
La Count, Michelle              Project Manager I                   $125.00   12/16/2015   2.10   $262.50
Oates, Kristin                  Director, Operations (@ $175)       $175.00   12/16/2015   0.50   $87.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/17/2015   0.80   $140.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/18/2015   0.50   $87.50
Cirami, Stephen                 Senior Management capped @ $225     $225.00   12/18/2015   1.00   $225.00
La Count, Michelle              Project Manager I                   $125.00   12/18/2015   1.10   $137.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/21/2015   2.50   $437.50
Cirami, Stephen                 Senior Management capped @ $225     $225.00   12/21/2015   0.50   $112.50
La Count, Michelle              Project Manager I                   $125.00   12/21/2015   0.50   $62.50
Oates, Kristin                  Director, Operations (@ $175)       $175.00   12/21/2015   1.00   $175.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/22/2015   2.50   $437.50
Cirami, Stephen                 Senior Management capped @ $225     $225.00   12/22/2015   0.80   $180.00
Donaldson, Mark                 Programmer (@ $100)                 $100.00   12/22/2015   0.20   $20.00
La Count, Michelle              Project Manager I                   $125.00   12/22/2015   2.20   $275.00
Oates, Kristin                  Director, Operations (@ $175)       $175.00   12/22/2015   3.00   $525.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/23/2015   3.40   $595.00
Oates, Kristin                  Director, Operations (@ $175)       $175.00   12/23/2015   2.00   $350.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/24/2015   2.50   $437.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/28/2015   2.70   $472.50
Oates, Kristin                  Director, Operations (@ $175)       $175.00   12/28/2015   1.00   $175.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/29/2015   2.00   $350.00
La Count, Michelle              Project Manager I                   $125.00   12/29/2015   4.50   $562.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   12/30/2015   1.30   $227.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/04/2016   2.20   $385.00
La Count, Michelle              Project Manager I                   $125.00   01/04/2016   6.50   $812.50
Oates, Kristin                  Director, Operations (@ $175)       $175.00   01/04/2016   0.50   $87.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/05/2016   1.80   $315.00
La Count, Michelle              Project Manager I                   $125.00   01/05/2016   4.50   $562.50
Oates, Kristin                  Director, Operations (@ $175)       $175.00   01/05/2016   2.00   $350.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/06/2016   2.00   $350.00
La Count, Michelle              Project Manager I                   $125.00   01/06/2016   2.50   $312.50
Oates, Kristin                  Director, Operations (@ $175)       $175.00   01/06/2016   0.50   $87.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/07/2016   1.50   $262.50
La Count, Michelle              Project Manager I                   $125.00   01/07/2016   2.10   $262.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/08/2016   1.20   $210.00
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Project Management
La Count, Michelle              Project Manager I                   $125.00   01/08/2016   2.50    $312.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/11/2016   2.20    $385.00
La Count, Michelle              Project Manager I                   $125.00   01/11/2016   1.00    $125.00
Oates, Kristin                  Director, Operations (@ $175)       $175.00   01/11/2016   0.50    $87.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/12/2016   0.70    $122.50
La Count, Michelle              Project Manager I                   $125.00   01/12/2016   1.50    $187.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/13/2016   0.90    $157.50
La Count, Michelle              Project Manager I                   $125.00   01/13/2016   0.50    $62.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/14/2016   0.70    $122.50
La Count, Michelle              Project Manager I                   $125.00   01/14/2016   1.50    $187.50
Oates, Kristin                  Director, Operations (@ $175)       $175.00   01/14/2016   0.50    $87.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/15/2016   1.00    $175.00
La Count, Michelle              Project Manager I                   $125.00   01/15/2016   0.80    $100.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/18/2016   0.70    $122.50
Cirami, Stephen                 Senior Management capped @ $225     $225.00   01/18/2016   4.50    $1,012.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/19/2016   1.80    $315.00
Citowicki, Matt                 Web and Graphics Designer           $125.00   01/19/2016   0.60    $75.00
La Count, Michelle              Project Manager I                   $125.00   01/19/2016   2.50    $312.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/20/2016   2.70    $472.50
Cirami, Stephen                 Senior Management capped @ $225     $225.00   01/20/2016   0.50    $112.50
Citowicki, Matt                 Web and Graphics Designer           $125.00   01/20/2016   0.10    $12.50
Greene, Danielle                Operations Coordinator              $125.00   01/20/2016   2.00    $250.00
La Count, Michelle              Project Manager I                   $125.00   01/20/2016   2.50    $312.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/21/2016   2.00    $350.00
Cirami, Stephen                 Senior Management capped @ $225     $225.00   01/21/2016   0.30    $67.50
Dalke, Jackie                   Web and Graphics Designer           $125.00   01/21/2016   0.10    $12.50
La Count, Michelle              Project Manager I                   $125.00   01/21/2016   4.50    $562.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/22/2016   1.00    $175.00
La Count, Michelle              Project Manager I                   $125.00   01/22/2016   5.20    $650.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/25/2016   3.40    $595.00
Cook, Roxana                    Sr. Project Supervisor              $110.00   01/25/2016   4.50    $495.00
Espaillat, Joseph               Sr. Project Supervisor              $110.00   01/25/2016   4.60    $506.00
La Count, Michelle              Project Manager I                   $125.00   01/25/2016   6.10    $762.50
Mulvihill, Matthew              Sr. Project Supervisor              $110.00   01/25/2016   6.50    $715.00
Muthya, Hemalatha               Web and Graphics Designer           $125.00   01/25/2016   0.20    $25.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/26/2016   3.00    $525.00
Cirami, Stephen                 Senior Management capped @ $225     $225.00   01/26/2016   0.80    $180.00
Cook, Roxana                    Sr. Project Supervisor              $110.00   01/26/2016   0.20    $22.00
La Count, Michelle              Project Manager I                   $125.00   01/26/2016   6.30    $787.50
Mulvihill, Matthew              Sr. Project Supervisor              $110.00   01/26/2016   1.80    $198.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/27/2016   5.80    $1,015.00
Cirami, Stephen                 Senior Management capped @ $225     $225.00   01/27/2016   0.40    $90.00
La Count, Michelle              Project Manager I                   $125.00   01/27/2016   7.50    $937.50
Paraiso, Leonor                 Project Supervisor (@ $95)          $95.00    01/27/2016   0.10    $9.50
Stainback, Daniel               Web and Graphics Manager            $125.00   01/27/2016   0.30    $37.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/28/2016   2.80    $490.00
La Count, Michelle              Project Manager I                   $125.00   01/28/2016   6.50    $812.50
Mulvihill, Matthew              Sr. Project Supervisor              $110.00   01/28/2016   0.90    $99.00
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/29/2016   2.30    $402.50
Cirami, Stephen                 Senior Management capped @ $225     $225.00   01/29/2016   1.20    $270.00
La Count, Michelle              Project Manager I                   $125.00   01/29/2016   3.20    $400.00
Cirami, Stephen                 Senior Management capped @ $225     $225.00   01/30/2016   0.50    $112.50
Alaniz, Elizabeth A.            Director, Operations (@ $175)       $175.00   01/31/2016   1.40    $245.00
La Count, Michelle              Project Manager I                   $125.00   01/31/2016   2.60    $325.00
Total Project Management :                                                                 243.1   $37,069.50
Name
                      Case 2:10-md-02179-CJB-DPC
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Reporting/Data Analysis
Nichols, Jacob                 Data Analyst IV                     $125.00   11/16/2015   5.80    $725.00
Sayle, Trevor                  Data Analyst IV                     $125.00   11/16/2015   1.50    $187.50
Nichols, Jacob                 Data Analyst IV                     $125.00   11/17/2015   4.00    $500.00
Sayle, Trevor                  Data Analyst IV                     $125.00   11/17/2015   1.00    $125.00
Nichols, Jacob                 Data Analyst IV                     $125.00   11/18/2015   4.00    $500.00
Nichols, Jacob                 Data Analyst IV                     $125.00   11/19/2015   6.00    $750.00
Nichols, Jacob                 Data Analyst IV                     $125.00   11/20/2015   6.70    $837.50
Nichols, Jacob                 Data Analyst IV                     $125.00   11/21/2015   2.70    $337.50
Nichols, Jacob                 Data Analyst IV                     $125.00   11/22/2015   2.30    $287.50
Nichols, Jacob                 Data Analyst IV                     $125.00   11/23/2015   6.50    $812.50
Nichols, Jacob                 Data Analyst IV                     $125.00   11/24/2015   5.80    $725.00
Nichols, Jacob                 Data Analyst IV                     $125.00   11/30/2015   9.00    $1,125.00
Nichols, Jacob                 Data Analyst IV                     $125.00   12/01/2015   6.90    $862.50
Zaremba-Tymieniecki, Michal    Data Analyst III                    $110.00   12/01/2015   1.00    $110.00
Nichols, Jacob                 Data Analyst IV                     $125.00   12/02/2015   0.50    $62.50
Nichols, Jacob                 Data Analyst IV                     $125.00   12/04/2015   0.90    $112.50
Nichols, Jacob                 Data Analyst IV                     $125.00   12/16/2015   2.50    $312.50
Nichols, Jacob                 Data Analyst IV                     $125.00   12/17/2015   11.80   $1,475.00
Kong, Minmhiep                 Data Analyst IV                     $125.00   12/18/2015   3.00    $375.00
Mariconda, Philip              Data Analyst II                     $100.00   12/18/2015   2.00    $200.00
Nichols, Jacob                 Data Analyst IV                     $125.00   12/18/2015   2.00    $250.00
Zaremba-Tymieniecki, Michal    Data Analyst III                    $110.00   12/18/2015   1.20    $132.00
Nichols, Jacob                 Data Analyst IV                     $125.00   12/21/2015   3.50    $437.50
Nichols, Jacob                 Data Analyst IV                     $125.00   12/22/2015   2.10    $262.50
Nichols, Jacob                 Data Analyst IV                     $125.00   12/23/2015   0.90    $112.50
Nichols, Jacob                 Data Analyst IV                     $125.00   12/28/2015   2.50    $312.50
Nichols, Jacob                 Data Analyst IV                     $125.00   12/29/2015   4.40    $550.00
Nichols, Jacob                 Data Analyst IV                     $125.00   12/30/2015   3.00    $375.00
Nichols, Jacob                 Data Analyst IV                     $125.00   01/04/2016   3.50    $437.50
Nichols, Jacob                 Data Analyst IV                     $125.00   01/05/2016   3.50    $437.50
Nichols, Jacob                 Data Analyst IV                     $125.00   01/06/2016   3.50    $437.50
Nichols, Jacob                 Data Analyst IV                     $125.00   01/07/2016   2.50    $312.50
Mariconda, Philip              Data Analyst II                     $100.00   01/08/2016   0.70    $70.00
Nichols, Jacob                 Data Analyst IV                     $125.00   01/08/2016   5.00    $625.00
Nichols, Jacob                 Data Analyst IV                     $125.00   01/11/2016   5.00    $625.00
Nichols, Jacob                 Data Analyst IV                     $125.00   01/12/2016   3.00    $375.00
Nichols, Jacob                 Data Analyst IV                     $125.00   01/13/2016   4.00    $500.00
Nichols, Jacob                 Data Analyst IV                     $125.00   01/14/2016   5.00    $625.00
Nichols, Jacob                 Data Analyst IV                     $125.00   01/15/2016   4.50    $562.50
Hansen, Christopher            Sr. Systems Project Manager         $200.00   01/19/2016   3.10    $620.00
Nichols, Jacob                 Data Analyst IV                     $125.00   01/19/2016   1.50    $187.50
Zaremba-Tymieniecki, Michal    Data Analyst III                    $110.00   01/19/2016   4.40    $484.00
Kong, Minmhiep                 Data Analyst IV                     $125.00   01/20/2016   2.00    $250.00
Mariconda, Philip              Data Analyst II                     $100.00   01/20/2016   1.30    $130.00
Nichols, Jacob                 Data Analyst IV                     $125.00   01/20/2016   1.50    $187.50
Zaremba-Tymieniecki, Michal    Data Analyst III                    $110.00   01/20/2016   1.00    $110.00
Hansen, Christopher            Sr. Systems Project Manager         $200.00   01/21/2016   1.00    $200.00
Kong, Minmhiep                 Data Analyst IV                     $125.00   01/21/2016   2.50    $312.50
Sayle, Trevor                  Data Analyst IV                     $125.00   01/21/2016   1.00    $125.00
Zaremba-Tymieniecki, Michal    Data Analyst III                    $110.00   01/21/2016   2.50    $275.00
Hansen, Christopher            Sr. Systems Project Manager         $200.00   01/22/2016   3.50    $700.00
Kong, Minmhiep                 Data Analyst IV                     $125.00   01/22/2016   4.00    $500.00
Sayle, Trevor                  Data Analyst IV                     $125.00   01/22/2016   1.00    $125.00
Zaremba-Tymieniecki, Michal    Data Analyst III                    $110.00   01/22/2016   5.10    $561.00
Hansen, Christopher            Sr. Systems Project Manager         $200.00   01/25/2016   3.00    $600.00
Kong, Minmhiep                 Data Analyst IV                     $125.00   01/25/2016   4.00    $500.00
Zaremba-Tymieniecki, Michal    Data Analyst III                    $110.00   01/25/2016   0.90    $99.00
Hansen, Christopher            Sr. Systems Project Manager         $200.00   01/26/2016   5.00    $1,000.00
Name
                      Case 2:10-md-02179-CJB-DPC
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                                                                    FiledDate
                                                                          02/12/16Hours
                                                                                    Page 7Amount
                                                                                           of 7
Reporting/Data Analysis
Kong, Minmhiep                    Data Analyst IV                  $125.00   01/26/2016   5.50    $687.50
Mariconda, Philip                 Data Analyst II                  $100.00   01/26/2016   3.80    $380.00
Zaremba-Tymieniecki, Michal       Data Analyst III                 $110.00   01/26/2016   3.10    $341.00
Hansen, Christopher               Sr. Systems Project Manager      $200.00   01/27/2016   2.00    $400.00
Hansen, Christopher               Sr. Systems Project Manager      $200.00   01/28/2016   2.00    $400.00
Kong, Minmhiep                    Data Analyst IV                  $125.00   01/28/2016   1.00    $125.00
Hansen, Christopher               Sr. Systems Project Manager      $200.00   01/29/2016   1.00    $200.00
Kong, Minmhiep                    Data Analyst IV                  $125.00   01/29/2016   1.50    $187.50
Total Reporting/Data Analysis :                                                           211.9   $27,549.50
